Case 6:23-cv-06561-FPG-MJP      Document 79      Filed 06/09/25   Page 1 of 13




              UNITED STATES DISTRICT COURT
              WESTERN DISTRICT OF NEW YORK


   Darius Howard,

                Plaintiff,
                                             DECISION and ORDER
         v.
                                               23-cv-6561-FPG-MJP
   City of Rochester, et al.,

                Defendants.


                             INTRODUCTION

        Pedersen, M.J. Plaintiff Darius Howard requests that this

  Court permit him to move forward with sanctions against the City De-

  fendants. (ECF No. 74, May 16, 2025.) Rather than permit full-blown

  motion practice on the question, the Court nips this issue in the bud.

  The Court denies Plaintiff ’s request for leave to set a briefing schedule

  for a motion seeking reasonable costs and attorneys’ fees because the

  Court sees no reason to award sanctions against the City under Fed. R.

  Civ. P. 30(d)(2). But the Court grants Plaintiff ’s request for 1.5 more

  hours of deposition time and directs that the parties complete the depo-

  sition at issue by the end of June 2025.

                             BACKGROUND

        This order arises from a discovery dispute dating back to January

  2025. The dispute began because the cast of characters in this case over-

  laps with that of another case pending before the Chief Judge (and a



                                      1
Case 6:23-cv-06561-FPG-MJP      Document 79      Filed 06/09/25   Page 2 of 13




  different Magistrate Judge), Johnson v. City of Rochester, 21-cv-6683-

  EAW-CDH. Chief Judge Wolford issued a decision and order in Johnson

  barring further discovery. Johnson v. City of Rochester, No. 6:21-CV-

  06683 EAW, 2024 WL 4799913, at *3 (W.D.N.Y. Nov. 15, 2024).

        Before turning to Johnson’s impact (or not) on this case, several

  overlapping cast members bear mentioning. First, Plaintiff ’s counsel in

  this case also represents the plaintiff in Johnson. Second, the cases in-

  volve allegations about the same former City of Rochester Police Officer,

  Jonathan Laureano. And third, the City’s Law Department is defending

  Laureano in both cases.

        Given the Chief Judge’s ruling, the defense argues that Plaintiff ’s

  counsel would like backdoor discovery that he can use in Johnson. In

  letters exchanged off-the-docket, the parties alerted the Court to the

  City’s request “that Plaintiff agree to postpone Officer Laureano’s depo-

  sition until after the trial in Johnson v. City of Rochester, 21-cv-6683.”

  (Pl. Letter at 1, on file, Jan. 8, 2025.) The City’s request was based on

  the Chief Judge’s decision in Johnson. The City reasoned that Plaintiff

  should not obtain indirectly what he could not obtain directly. Respond-

  ing, Plaintiff opposed the City’s request from the outset:

        Plaintiff cannot agree to postpone the [Laureano] deposi-
        tion … Fact discovery closes May 9, 2025, and Officer Lau-
        reano’s deposition has been properly noticed well within
        the discovery period. After Officer Laureano’s deposition,
        Plaintiff anticipates serving follow-up discovery demands
        and conducting numerous additional depositions that will



                                      2
Case 6:23-cv-06561-FPG-MJP        Document 79     Filed 06/09/25    Page 3 of 13




        need to be completed before the discovery deadline. Delay-
        ing Officer Laureano’s deposition would severely compress
        the time available for this necessary follow-up discovery.

  (Id.) The Court heard from the parties about the dispute during a con-

  ference on January 10, 2025.

        During that conference, Plaintiff ’s counsel alluded to his ethical

  obligation to pursue relevant discovery under Fed. R. Civ. P. 26(b)(1). To

  the undersigned, Plaintiff ’s position appeared to be one of good faith.

  Likewise, the undersigned determined that the City was proceeding in

  good faith and wanted to bring this issue to the Court’s attention before

  resorting to motion practice.

        Ultimately, the Court determined that a letter to the parties was

  appropriate in part because the Court wanted to afford the City the op-

  portunity for formal briefing. So on January 27, 2025, the undersigned

  wrote the parties. In that letter, the Court indicated it would likely per-

  mit Plaintiff ’s counsel to use this arguable “backdoor,” stating: “I am not

  inclined to grant the City Defendants any relief regarding Mr. Lau-

  reano’s deposition.” (Letter at 1–2, ECF No. 63-1 (attached as Exhibit 1

  to ECF No. 63).) After all, Plaintiff properly noticed Laureano’s deposi-

  tion in this case. So the only limitation the undersigned noted regarding

  the Laureano’s deposition was that Plaintiff ’s questions to Laureno

  should be relevant to this case. (Id. at 2 (“In short, if Mr. Shields asks

  Mr. Laureano a question that is relevant to the Howard case (and oth-

  erwise permissible), I see no problem.”).)


                                       3
Case 6:23-cv-06561-FPG-MJP        Document 79      Filed 06/09/25    Page 4 of 13




         Plaintiff ’s counsel believes that allegations about Laureano are

  relevant to this case “because” the two cases “involve[] similar allega-

  tions that Laureano provided false sworn testimony and/or included un-

  truthful statements in his official reports.” (Letter at 1, ECF No. 61, Apr.

  2, 2025.) It appears that City counsel permitted questioning about Lau-

  reano’s credibility in other cases:

         Although [City counsel] had allowed me to question Lau-
         reano about People v. Allen, Ind. No. 2021-0027A (Monroe
         Cty. Ct.) (Exhibit 1); People v. Parsons, Ind. No. 2019/0597
         (Sup. Ct. Monroe Cty. Dec. 2, 2019) (Exhibit 2); and United
         States v. Brookins, No. 17-cr-6019-CJSJWF (W.D.N.Y.
         Sept. 28, 2018) (Exhibit 3), he abruptly terminated the dep-
         osition without letting me pose even one question about
         Johnson. The suppression ruling in People v. Johnson, Ind.
         No 2020/0070 (Monroe Cty. Ct.) is attached as Exhibit 4.

  (Id. at 2.) Plaintiff posits that despite the Court’s letter advising the par-

  ties of its position, the City improperly terminated the Laureano depo-

  sition. True, City counsel inaccurately described the January 17 letter

  as an “order … that says that you can’t ask questions about the Devin

  Johnson case.” (Rough Tr. 9:25–10:3, on file.)

         The Court finds that the City misread the Court’s January 17 let-

  ter. First, the letter is expressly not an order. Instead, the Court gave

  the parties its initial reaction but further gave the City the chance to

  move for relief to attempt to convince the Court otherwise through a




                                        4
Case 6:23-cv-06561-FPG-MJP         Document 79       Filed 06/09/25     Page 5 of 13




  discussion of applicable law. 1 (Letter at 1, ECF No. 63-1 (attached as

  Exhibit 1 to ECF No. 63).) The Court accordingly indicated that it was

  unlikely to grant the City relief concerning Laureano’s deposition.

         Second, the letter stated that Plaintiff ’s counsel could not ask a

  question “relevant only to the Johnson case.” (Id. at 2.) The word “only”

  is key. If Plaintiff ’s counsel asks a question relevant to this case that so

  happens to bear on Johnson, that is permissible. 2 But the City reads the

  Court’s letter too broadly: The City’s “interpretation … is that question-

  ing Officer Laureano specifically about [the] subject of the Johnson case

  is impermissible.” (Letter at 2, ECF No. 63, Apr. 4, 2025.) Not so.

         To clear up any lingering doubt, the Court sua sponte issued a

  text order. The City prompted that text order by writing to the Court to

  purport to reserve the right to terminate the Laureano deposition again

  if Plaintiff ’s counsel questioned Laureano about the Johnson case. (Let-

  ter at 1, ECF No. 71 (“I would, however, reserve my right to move in the

  event that the questioning at [Laureano’s] resumed deposition runs

  afoul of Your Honor’s directive in your letter of January 17, 2025.”).) The




         1 Thus, the City has had since mid-January to move to limit the Lau-

  reano deposition yet has not done so. This reinforces the Court’s finding below
  that the City has forfeited the ability to move to limit the Laureano deposition.

         2   This likely includes credibility questions about the Johnson case,
  which are relevant in Howard because they tend to show Laureano’s propen-
  sity for truthfulness—a topic that parties may always explore during discovery
  and at trial. Moreover, deposition testimony, like all discovery, need not be
  admissible.


                                         5
Case 6:23-cv-06561-FPG-MJP       Document 79     Filed 06/09/25    Page 6 of 13




  Court proceeded to tell the City that it misapprehended the Court’s ear-

  lier letter:

         While the Court believes that its letter found in Exhibit 1
         to ECF No. 71 was clear on this point, the Court issues this
         text order sua sponte to clarify its position to the parties.
         The Court’s position is that Mr. Shields may ask any ques-
         tion relevant to this case of Defendant Laureano during his
         deposition, including questions that also happen to be rel-
         evant to the Johnson case in which discovery has closed.
         The Court thus disagrees with the City’s statement that
         “questioning Officer Laureano specifically about subject
         [sic] of the Johnson case is impermissible.” (Letter at 2,
         ECF No. 63.) Again, Mr. Shields may ask questions about
         the Johnson case as long as they are also relevant under
         the broad discovery standard of Fed. R. Civ. P. 26 to this
         case.

  (Text Order, ECF No. 72, May 16, 2025 (emphasis in original).)

         The same day, Plaintiff renewed an earlier request for sanctions,

  “including an award of reasonable expenses and attorney’s fees incurred

  due to the City Defendants’ unwarranted frustration of Plaintiff ’s fair

  examination of Defendant Laureano.” (Letter at 2, ECF No. 74, May 16,

  2025.) Plaintiff also requested that the Court “[o]rder the continuation

  of Defendant Laureano’s deposition [for] no later than June 27, 2025[.]”

  (Id.) Additionally, Plaintiff asked the Court to allow Plaintiff 1.5 hours

  of questioning. (Id.) At the Court’s direction, (Text Order, ECF No. 75,

  May 17, 2025), the City responded. (Letter, ECF No. 77, May 22, 2025.)

         In its response, the City consented to Plaintiff questioning Lau-

  reano for an additional hour. (Id. at 1.) As noted, the City continued to

  assert that it would move to terminate “if the questioning violate[d]” the



                                      6
Case 6:23-cv-06561-FPG-MJP       Document 79       Filed 06/09/25    Page 7 of 13




  Court’s January 17 “directive.” (Id. at 2.) As the Court discusses below,

  the City’s purported reservation of the right to terminate the deposition

  again is procedurally improper. Given that, and the finding that the

  Court should not award sanctions against the City, the Court has deter-

  mined that it will put an end to this discovery dispute.

                               DISCUSSION

         Before turning to its reasoning, the Court summarizes its rulings.

  First, based on its review of video and a rough transcript of the relevant

  portions of the Laureano deposition, the City was unjustified in termi-

  nating that deposition because City counsel misread the January 17 let-

  ter. Next, the City has lost the chance to limit the Laureano deposition. 3

  The City did not move for relief by the Court’s deadline. Third, while the

  Court declines to impose sanctions under Fed. R. Civ. P. 30(d)(3), the

  Court affords Plaintiff 1.5 hours of additional deposition time. Fed. R.

  Civ. P. 30(d)(1) (“The court must allow additional time consistent with

  Rule 26(b)(1) and (2) if needed to fairly examine the deponent or if the

  deponent, another person, or any other circumstance impedes or delays

  the examination.”). Finally, the parties are to complete the renewed

  Laureano deposition by the end of June 2025.




         3 Of course, the City may still direct Laureano not to answer based on

  privilege.


                                       7
Case 6:23-cv-06561-FPG-MJP      Document 79      Filed 06/09/25   Page 8 of 13




  I.    Plaintiff may ask Laureano questions about the
        Johnson case.

        “It is well-settled that a deponent is required to answer questions

  at his oral deposition unless an objection is interposed based on privi-

  lege, to enforce a court[-]ordered limitation, or to enable the witness to

  seek relief from questioning which creates unreasonable annoyance, em-

  barrassment, or is found oppressive pursuant to Fed. R. Civ. P. 30(d)(3).”

  Scott v. Howard, No. 15-CV-1000A(F), 2019 WL 311618, at *1 (W.D.N.Y.

  Jan. 24, 2019) (citations omitted). Under Fed. R. Civ. P. 30(d)(3)(A), the

  City could move to terminate the Laureano deposition “on the ground

  that it [was] being conducted in bad faith or in a manner that unreason-

  ably annoys, embarrasses, or oppresses the deponent or party.” But this

  Rule does not afford the City the ability to reserve its objection for a

  follow-up deposition of the same witness.

        Instead, Fed. R. Civ. P. 30(d)(3)(A) anticipated that the City could

  suspend the deposition “for the time necessary to obtain an order.” As

  this District has noted, Rule 30(d)(3) “requires a reasonably prompt re-

  sponse by a deponent.” Ryan v. Town of Tonawanda, No. 23-CV-

  351LJV(F), 2024 WL 4456928, at *2 (W.D.N.Y. Oct. 10, 2024) (citation

  omitted). Thus, courts in this District have held that where, as here, a

  party fails “to timely seek relief pursuant to Rule 30(d)(3)” the Court

  may find that party’s objection forfeited. Id. The language of Rule

  30(d)(3), in this Court’s view, requires that the party moving to



                                      8
Case 6:23-cv-06561-FPG-MJP       Document 79      Filed 06/09/25    Page 9 of 13




  terminate a deposition “not unduly delay in seeking relief.” Document

  Sec. Sys., Inc. v. Ronaldi, No. 20-CV-6265-EAW-MJP, 2022 WL

  2207185, at *11 (W.D.N.Y. June 21, 2022) (quoting Scott-Iverson v. In-

  dep. Health Ass’n, Inc., No. 13-CV-451V(F), 2017 WL 3498283, at *2

  (W.D.N.Y. Aug. 16, 2017)). The thrust of the Rule is that the aggrieved

  party should move and obtain an order so that the same issue cannot

  reemerge in a rescheduled deposition.

        To provide the parties with finality in such an order, the Court

  set a deadline of May 17, 2025, for the City to move to limit the Laureano

  deposition. (Text Order & Minute Entry, ECF No. 64, Apr. 7, 2025 (“Any

  motion from the City to preclude testimony from Officer Laureano is due

  by 5/16/25.”).) Rather than move by May 16, the City wrote the Court,

  stating that the City “would [ ] reserve [the] right to move in the event

  that the questioning at his resumed deposition runs afoul of Your

  Honor’s directive in your letter of January 17, 2025.” (City Letter at 1,

  ECF No. 71.) In its most recent letter of May 22, 2025, the City reiter-

  ated its intent to move to terminate the Laureano deposition but “only

  if the questioning violates [the January 17 letter’s] directive.” (Letter at

  2, ECF No. 77, May 22, 2025.) While the Court afforded the City time to

  move given City counsel’s personal obligations, the City declined to do

  so yet continued to “reserve” the right to move to terminate the Lau-

  reano deposition. The City’s position flies in the face of Rule 30(d)(3).




                                       9
Case 6:23-cv-06561-FPG-MJP        Document 79       Filed 06/09/25    Page 10 of 13




          Again, the import of Rule 30(d)(3) is that the party seeking to

   limit topics or questioning at a deposition must secure a court order be-

   fore any renewed deposition. See Ryan, 2024 WL 4456928, at *2. The

   Court afforded the City the opportunity to do so based on City counsel’s

   personal circumstances and because it was the City’s burden to show

   that the Court should limit the Laureano deposition. Riddell Sports Inc.

   v. Brooks, 158 F.R.D. 555, 558 (S.D.N.Y. 1994). The Court finds that the

   City has forfeited any chance to limit the Laureano deposition because

   it declined to move by the May 17 deadline—despite the Court’s May 17,

   2025, due date for “[a]ny motion to preclude testimony.” (Text Order &

   Minute Entry, ECF No. 64.)

          The Court likewise rejects the City’s reasoning for limiting the

   Laureano deposition on the merits. As noted, the City bore the applica-

   ble burden as “the party resisting discovery.” Riddell Sports Inc., 158

   F.R.D. at 558. Yet other than touting the existence of Chief Judge Wol-

   ford’s decision and order closing discovery in Johnson, and misinterpret-

   ing the undersigned’s January 17 letter, the City has provided no au-

   thority to suggest that the Johnson order binds the undersigned in this

   case or operates to defeat an otherwise valid deposition notice. To the

   contrary, the “decision of a federal district court judge is not binding

   precedent in either a different judicial district, the same judicial district,




                                        10
Case 6:23-cv-06561-FPG-MJP       Document 79      Filed 06/09/25    Page 11 of 13




   or even upon the same judge in a different case.” Camreta v. Greene, 563

   U.S. 692, 709 n.7 (2011) (quotation omitted). So too with this case.

         Setting aside the City’s failure to provide relevant authority, to

   the extent that the City raises relevancy as the basis for limiting the

   Laureano deposition, courts in this District reject similar arguments.

   See Ryan, 2024 WL 4456928, at *2 (“Nor is there any valid ground for

   Stauffiger’s unilateral refusal to answer Plaintiff's questions by assert-

   ing a lack of relevancy.” (collecting cases)). For these reasons, the Court

   declines to limit the Laureano deposition with respect to the Johnson

   case. Plaintiff ’s counsel may therefore question Laureano about the

   Johnson case.

   II.   The Court declines to sanction the City.

         Under Fed. R. Civ. P. 30(d)(2), the Court may impose “an appro-

   priate sanction—including the reasonable expenses and attorney’s fees

   incurred by any party—on a person who impedes, delays, or frustrates

   the fair examination of the deponent.” In this case, although the Court

   disagrees with the City’s reading of its January 17 letter, the Court de-

   clines to impose sanctions. City counsel’s statements during the deposi-

   tion indicate that counsel misread the Court’s January 17 letter in good

   faith. (See also Letter at 2, ECF No. 63 (“My interpretation of this is that

   questioning Officer Laureano specifically about [sic] subject of the John-

   son case is impermissible.”).) Such a misreading does not warrant sanc-

   tions. Cf. Cleary Gottlieb Steen & Hamilton LLP v. Kensington Int’l Ltd.,


                                       11
Case 6:23-cv-06561-FPG-MJP      Document 79     Filed 06/09/25   Page 12 of 13




   284 F. App’x 826, 828 (2d Cir. 2008) (upholding district court’s deposi-

   tion sanctions based on counsel’s lack of “a good-faith motive” for dis-

   suading witness from testifying).

         Put differently, City counsel did not “engage in [ ] conduct during

   a deposition that would not be allowed in the presence of a judicial of-

   ficer.” Scott-Iverson v. Indep. Health Ass’n, Inc., No. 13-CV-451V(F),

   2017 WL 35453, at *9 (W.D.N.Y. Jan. 4, 2017) (quoting Advisory Com-

   mittee Note to 1993 Amendment to Fed. R. Civ. P. 30(d)). Sanctions un-

   der Rule 30(d)(3) are warranted where counsel’s actions are “so com-

   pletely without merit as to require the conclusion that the conduct was

   undertaken to harass or delay or for some improper purpose.” Sicurelli

   v. Jeneric/Pentron, Inc., No. 03CV4934(SLT)(KAM), 2005 WL 3591701,

   at *7 (E.D.N.Y. Dec. 30, 2005), report and recommendation adopted, No.

   03CV4934 SLT KAM, 2006 WL 681212 (E.D.N.Y. Mar. 14, 2006). And

   so, courts in this District have declined to impose sanctions where “the

   record reveals no abusive or oppressive conduct” by counsel. Scott-Iver-

   son, 2017 WL 35453, at *4. So too here.

         As the Court noted in recounting the factual and procedural back-

   ground of this dispute, City counsel acted in good faith. Counsel’s genu-

   ine misunderstanding of the Court’s January 17 letter was his basis for

   terminating the Laureano deposition. The Court concludes this misun-

   derstanding was genuine based on counsel’s statements on the record




                                       12
Case 6:23-cv-06561-FPG-MJP       Document 79      Filed 06/09/25    Page 13 of 13




   during the Laureano deposition and counsel’s deportment during con-

   ferences in this case. On this record, the Court should not award sanc-

   tions but instead should give Plaintiff a full opportunity to re-depose

   Laureano about the Johnson case. The Court thus will permit Plaintiff

   to question Laureano for an additional 1.5 hours.

                               CONCLUSION

         For the foregoing reasons, the Court declines to award sanctions

   against the City and thus denies that portion of Plaintiff ’s letter request

   at ECF No. 74. Concerning ECF No. 74’s other requests, the Court rules

   as follows: First, the Court affords Plaintiff 1.5 hours of additional dep-

   osition time. Fed. R. Civ. P. 30(d)(1) (“The court must allow additional

   time consistent with Rule 26(b)(1) and (2) if needed to fairly examine the

   deponent or if the deponent, another person, or any other circumstance

   impedes or delays the examination.”). Second, the parties are to com-

   plete the renewed Laureano deposition by the end of June 2025.

   IT IS SO ORDERED.

    Dated:       June 9, 2025
                 Rochester, NY               /s/ Mark W. Pedersen
                                            MARK W. PEDERSEN
                                            United States Magistrate Judge




                                       13
